                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


 JOSHUA JARRETT; JESSICA JARRETT,

         Plaintiffs,                                 Case No. 3:21-CV-00419

 v.                                                  Judge Campbell
                                                     Magistrate Judge Alistair E. Newbern
 UNITED STATES OF AMERICA,

         Defendant.


                       AMENDED INITIAL CASE MANAGEMENT ORDER

        This order corrects an error in the dispositive motion deadline and target trial date stated in

the initial case management order entered on September 24, 2021 (Doc. No. 32). As reflected in

this amended order, the correct dispositive motion deadline is August 19, 2022, and the correct

target trial date is February 14, 2023.

        A.      JURISDICTION: The Court has jurisdiction pursuant to 26 U.S.C. § 7422.


        B.      BRIEF THEORIES OF THE PARTIES: These statements shall briefly
                summarize the parties’ positions and shall not be a recitation of the pleadings or
                argument of the claims.

        PLAINTIFF:

        Plaintiffs Joshua Jarrett and Jessica Jarrett filed suit for a refund of taxes paid to the United
States of America. Plaintiffs assert that Mr. Jarrett created new property (referred to as “Tezos
tokens”) and that it would be unprecedented under U.S. federal income tax law for Plaintiffs to be
taxed upon the creation of such property before it is sold or exchanged.

       During 2019 Mr. Jarrett owned existing Tezos tokens which he employed along with
computing power to create new Tezos tokens in a process called “staking.” Plaintiffs assert that
Mr. Jarrett’s creation of new Tezos tokens is not fundamentally different from a baker who bakes
a cake using ingredients and an oven or a writer who writes a book using Microsoft Word and a
computer. Plaintiffs assert that like the baker or the writer, Mr. Jarrett should realize taxable
income when he first sells or exchanges the Tezos tokens he created, but the federal income tax
law does not permit the taxation of Plaintiffs simply because Mr. Jarrett created new property.



      Case 3:21-cv-00419 Document 34 Filed 10/06/21 Page 1 of 7 PageID #: 92
       DEFENDANT:


        Discovery and expert analysis are needed to determine whether Mr. Jarrett’s activities
“create[d] new Tezos tokens.” Similarly, discovery and expert analysis are needed to identify the
significant characteristics of the activities and whether and when income is realized and
recognized. Additionally, not all of the Tezos tokens that Mr. Jarrett received were newly-issued;
some were transaction fees charged to other Tezos users.

       C.      ISSUES RESOLVED: State all agreements reached by counsel and not otherwise
               addressed by this Order, including agreements as to jurisdiction, venue, and other
               matters as appropriate.

The parties agree as to both jurisdiction and venue.

       D.      ISSUES STILL IN DISPUTE: Briefly summarize all issues still in dispute
               including, for example, liability and damages.

In dispute is the legal question as to whether Plaintiffs recognized taxable income during 2019 and
if so, how much and whether they overpaid their tax liability for 2019.

       E.      INITIAL DISCLOSURES:

       The parties shall exchange initial disclosures pursuant to Federal Rule of Civil Procedure

26(a)(1) on or before October 15, 2021.

       F.      CASE RESOLUTION PLAN AND JOINT STATUS REPORTS:

       Judge Campbell: The parties are encouraged to consider the Alternative Dispute

Resolution options provided in Local Rule 16.02 2 through 16.05. If the parties do not propose a

detailed plan for resolution of the case in their proposed initial case management order, the Court

will establish case resolution plan requirements. Approximately fourteen (14) days after the

conclusion of fact discovery, the parties shall submit a joint report confirming that the parties made

a good faith attempt to resolve the case. The joint report shall also state whether the parties believe

ADR might assist in resolution of the case. If a judicial settlement conference is requested in either

joint report or separately, the parties shall also state (i) the reasons why mediation is not feasible;

                                                  2

     Case 3:21-cv-00419 Document 34 Filed 10/06/21 Page 2 of 7 PageID #: 93
(ii) their proposed timing for scheduling of the settlement conference; and (iii) any preference of

a particular Magistrate Judge to conduct the settlement conference.

       Magistrate Judge Newbern: The parties may request referral to a member of the Court’s

ADR Panel for pro bono mediation by filing a motion that states why private mediation is not

feasible and why referral to a mediator will materially advance the resolution of the case.

       G.      DISCOVERY:

       The parties shall complete all written discovery and depose all fact witnesses on or before

March 18, 2022. Written discovery shall proceed promptly (unless otherwise provided for herein)

and shall be served no later than January 31, 2022. Discovery is not stayed during dispositive or

other motions, unless ordered by the Court.

       Judge Campbell: No discovery dispute may be brought to the Court for resolution before

lead counsel for all parties has conducted an in-person meeting and made a good faith effort to

resolve any dispute(s)

       Magistrate Judge Newbern: If the parties are unable to resolve a discovery dispute after

conferring in good faith as required by the Court’s Local Rule 37.01 and the District Judge’s case

management preferences, counsel shall notify Magistrate Judge Newbern’s chambers and request

a discovery dispute telephone conference. Not later than two days before the conference, the parties

shall file a joint statement of the discovery dispute that states the particular requests or responses

at issue, summarizes counsel’s good-faith discussions, and briefly addresses the parties’ positions.

Each party’s position statement shall be limited to no more than three pages per issue. The parties

may attach documents for review that will be useful to the Court’s understanding of the dispute. If

the parties are unable to reach a resolution of the dispute after the conference, the Magistrate Judge

will set a schedule for discovery motion briefing. If a party files a discovery motion before a

discovery dispute conference has been held, the motion will likely be terminated.
                                                  3

     Case 3:21-cv-00419 Document 34 Filed 10/06/21 Page 3 of 7 PageID #: 94
       All motions related to fact discovery shall be filed by no later than April 1, 2022.

       H.      MOTIONS TO AMEND OR TO ADD PARTIES:

       Any motions to amend or to add parties shall be filed no later than December 15, 2021.

       Any motion to amend must be accompanied by the proposed amended pleading, which

shall be included as an exhibit to the motion. Before filing the motion to amend, counsel for the

moving party shall discuss the proposed amendment with all other counsel and shall state in the

motion to amend whether the motion is opposed. Any motion to amend must comply with Local

Rules 7.01 and 15.01.

       I.      DISCLOSURE AND DEPOSITIONS OF EXPERT WITNESSES:

       The plaintiff(s) and the defendants shall identify and disclose all expert witnesses and

expert reports on or before May 2, 2022. The parties shall make any rebuttal disclosures on or

before June 1, 2022. All expert witnesses shall be deposed on or before July 1, 2022.

       Judge Campbell: Rebuttal experts shall be permitted only by leave of court. Unless

otherwise provided for in a separate pretrial order, supplemental expert disclosures, which

specifically include, but are not limited to, any supplemental information to expert reports, must

be made in accordance with Rule 26(a) and (e). Supplemental expert opinions or other expert

disclosures not timely disclosed may be excluded at trial. See Local Rule 39.01(c)(5.C).

       J.      NEXT CASE MANAGEMENT CONFERENCE:

       A case management conference with the Magistrate Judge will be held by telephone on

February 10, 2022, at 10:00 a.m. Counsel shall be prepared to address the status of discovery

(including any known or anticipated discovery issues or disputes); prospect for settlement

(including propriety of ADR); and any other appropriate matters. Unless otherwise instructed,

counsel shall call (888) 557-8511 and enter access code 7819165# to join the call.

        DISPOSITIVE MOTIONS:

                                                 4

     Case 3:21-cv-00419 Document 34 Filed 10/06/21 Page 4 of 7 PageID #: 95
       Judge Campbell: As provided above, the parties must attempt to resolve the case prior to

the filing of dispositive motions. Dispositive motions shall be filed by no later than August 19,

2022. Responses to dispositive motions shall be filed within 28 days after the filing of the motion.

Briefs or memoranda of law in support of or in opposition to a dispositive motion shall not exceed

25 pages. Optional replies may be filed within 14 days after the filing of the response and shall not

exceed 5 pages. No motion for partial summary judgment shall be filed except by permission of

the Court. Any party wishing to file such a motion shall first file a separate motion that gives the

justification for filing a partial summary judgment motion in terms of overall economy of time and

expense for the parties, counsel, and the Court.

       K.      ELECTRONIC DISCOVERY:

       The parties shall discuss any anticipated electronic discovery before the initial case

management conference. If the parties reach an agreement on how to conduct electronic discovery

in this case, Administrative Order 174-1 need not apply. Any agreement among the parties to

address electronic discovery shall be reduced to writing, signed by counsel, and filed as a

stipulation of agreed-upon electronic discovery procedures. If the parties request the Court’s

approval of their agreement, they shall file it was a proposed agreed order with the appropriate

accompanying motion. In the absence of an agreement, Administrative Order 174-1 will apply.

       L.      MODIFICATION OF THE CASE MANAGEMENT ORDER:

       Judge Campbell: Any motion to modify the case management order or any case

management deadline shall be filed at least seven (7) days in advance of the earliest impacted

deadline. Unless a joint motion, the motion for modification must include a statement confirming

that counsel for the moving party has discussed the requested modification or extension with

opposing counsel and whether or not there is any objection to the 5 requested modification or

extension. The motion for modification must also include: (i) the trial date and all deadlines, even

                                                   5

     Case 3:21-cv-00419 Document 34 Filed 10/06/21 Page 5 of 7 PageID #: 96
unaffected deadlines, so that it will not be necessary for the Court to review one or more previous

case management orders in consideration of the motion and (ii) a statement that the requested

extension will still conform to the requirements of Local Rule 16.01(h)(1) that no dispositive

motion deadline, including response and reply briefs, shall be later than 90 days in advance of the

trial date. Motions for extensions should also detail the moving party’s efforts at diligently

complying with the originally schedule deadline and the facts demonstrating good cause for

modification of the deadline as required by Fed. R. Civ. P. 16(b)(4).

       M.      REQUESTS TO SEAL DOCUMENTS:

       Judge Campbell: Any party requesting that documents or portions of documents be sealed,

including without limitation for use as exhibits at trial, must file a motion to seal in accordance

with Section 5.07 of Administrative Order No. 167 (Administrative Practices and Procedures for

Electronic Case Filing) and Local Rule 7.01, which demonstrates compelling reasons to seal the

documents and that the sealing is narrowly tailored to those reasons. The motion to seal, even if

unopposed, must specifically analyze in detail, document by document, the propriety of secrecy,

providing factual support and legal citations. Generally, only trade secrets, information covered

by a recognized privilege (such as the attorney-client privilege), and information required by

statute to be maintained in confidence is typically enough to overcome the presumption of public

access. Failure to comply with these procedures or to provide sufficiently compelling reasons may

result in denial of the request to seal documents or portions of documents. Protective orders should

not provide that documents produced in discovery and designated as “confidential” will be

automatically sealed upon filing or if used at trial. Any such language in proposed protective orders

will be stricken and may result in denial of the motion for entry of the proposed protective order.




                                                 6

     Case 3:21-cv-00419 Document 34 Filed 10/06/21 Page 6 of 7 PageID #: 97
       N.      ESTIMATED TRIAL TIME AND TARGET TRIAL DATE:

       The bench trial of this action is expected to last approximately 2 days. The target trial date

is February 14, 2023. The requested trial date and the dispositive motion deadline proposed in this

Order conform to Local Rule 16.01(h)(1).

       It is so ORDERED.



                                                     ____________________________________
                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




                                                 7

     Case 3:21-cv-00419 Document 34 Filed 10/06/21 Page 7 of 7 PageID #: 98
